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  4
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  5                                                      CLERK U.S. BANKRUPTCY COURT
                                                         Central District of California

  6
      Attorneys for Defendants, Ocwen Loan Servicing, LLCBY Pgarcia DEPUTY CLERK

      and Mortgage Electronic Registration Systems, Inc.
  7
  8                     UNITED STATES BANKRUPTCY COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   In re: STEVEN MARK ROSENBERG, Bankruptcy Case No. 1:17-bk-11748-VK
 12
          Debtor.                   Chapter 7

 13                                           Adversary Case No. 1:17-ap-01096-VK
 14   STEVEN MARK ROSENBERG,
                                              JUDGMENT FOLLOWING
 15
                             Plaintiff,       DEFENDANTS’ MOTION FOR
 16   v.                                      JUDGMENT ON THE PLEADINGS
 17
      ALLIANCE BANCORP, INC (Estate),         Hearing:
 18   MORTGAGE ELECTRONIC                     Date: May 2, 2018
 19   REGISTRATION SYSTEMS, INC.,             Time: 2:30 p.m.
      OCWEN LOAN SERVICING, ONE               Crtrm: 301
 20
      WEST BANK, DEUTSCHE BANK
 21   NATIONAL TRUST COMPANY, AS
 22
      TRUSTEE FOR ALLIANCE
      BANCORP MORTGAGE BACKED
 23   PASS-THROUGH CERTIFICATE
 24   SERIES 2007-OA1 AND DOES 1
      THROUGH 25, INCLUSIVE,
 25
 26                       Defendants.
 27
 28

                                             1
              JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR JUDGMENT
                               ON THE PLEADINGS
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  1          The Motion for Judgment on the Pleadings of Defendants, Ocwen Loan
  2   Servicing, LLC and Mortgage Electronic Registration Systems, Inc.
  3   (“Defendants”), as to the Complaint of Plaintiff, Steven Mark Rosenberg
  4   (“Plaintiff”), came on regularly for hearing on May 2, 2018, at 2:30 p.m. in
  5   Courtroom “301” of the above-entitled Court, located at 21041 Burbank Blvd.,
  6   Courtroom 301, Woodland Hills, California.
  7          Having considered the papers submitted by the parties and having given the
  8   parties the opportunity to present oral argument, the Court ORDERED as follows:
  9          1.     Defendants’ Motion for Judgment on the Pleadings is GRANTED
 10                 without leave to amend.
 11          2.     Judgment on Plaintiff’s Complaint shall be entered in favor of
 12                 Defendants, Ocwen Loan Servicing, LLC and Mortgage Electronic
 13                 Registration Systems, Inc.;
 14          3.     Plaintiff’s entire action against Defendants is DISMISSED with
 15                 prejudice;
 16          4.     Plaintiff shall take nothing by the Complaint;
 17          5.     This is a final judgment.
 18
 19                                               ###
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 24 Date: May 14, 2018
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                  JUDGMENT FOLLOWING DEFENDANTS’ MOTION FOR JUDGMENT
                                   ON THE PLEADINGS
